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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   (EASTERN DIVISION)

________________________________________

LEE MOMIENT,                                        )
                                                    )
       Plaintiff,                                   )
                                                    )
       v.                                           )       Case No. ______________
                                                    )
FIRST NATIONAL BANK OF OMAHA,                       )
                                                    )
      Defendant.                                    )
_______________________________________
	  

                                     NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant, First National Bank of Omaha (“FNBO”),

removes this state court action Lee Momient v. First National Bank of Omaha, Case No. 2015-L-

001206, Second Circuit Court of Cook County, Illinois, to this Court pursuant to 28 U.S.C. §§

1331, 1441, and 1446. In support of this Removal, FNBO states as follows:


       1. Plaintiff, Lee Momient, filed the above state civil action against FNBO in the Circuit

            Court of Cook County, Illinois on February 5, 2015. This action is within the

            Northern District of Illinois.

       2. FNBO was served with the Complaint on or about February 24, 2015. A copy of the

            Complaint is attached hereto as Exhibit A. FNBO has not been served with any other

            matters in the State Court action.

       3. Plaintiff has alleged federal causes of action against FNBO, which include: Counts I

            & II: Fair Credit Reporting Act, 15 U.S.C. §1681; Count III: Fair Credit Billing Act,

            15 U.S.C. §1666; and Counts V, VI, and VI (sic): 47 U.S.C. §227.
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       4. This Court has original federal question over the federal causes of action above

           pursuant to 28 U.S.C. §1331 and §1441.

       5. This Court has supplemental jurisdiction over Plaintiff’s one and only state cause of

           action, Count IV: Invasion of Privacy, as it arises from and is a part of the same case

           or controversy as the federal claims. Therefore, this Court has supplemental

           jurisdiction over this claim pursuant to 28 U.S.C. §1367 and can be removed pursuant

           to 28 U.S.C. §1441.

       6. This Court is the proper venue for this action pursuant to 28 U.S.C. §1441(a) as the

           Circuit Court of Cook County is located within the Northern District of Illinois.

       7. FNBO will file a copy of this Notice of Removal with the Clerk of the Circuit Court

           of Cook County and provide Notice to the Plaintiff contemporaneously with this

           filing.


       WHEREFORE, Defendant, First National Bank of Omaha, respectfully removes this

action from the Circuit Court of Cook County, Illinois, to this Court.



                                                         Respectfully Submitted,



                                                         FIRST NATIONAL BANK OF OMAHA,
                                                         Defendant



                                                  By: /s/ Jasmani Francis____________
                                                     Jasmani Francis
                                                     Jasmani Francis, Attorney at Law, LLC
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                               CERTFIFICATE OF SERVICE


        I hereby certify that on March 27, 2015, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will send electronic notification to all
interested parties registered with the Court’s CM/ECF system, and I will send notification of
such filing ot the following via regular mail, postage prepaid:

Lee Momient
P.O. Box 608082
Chicago, IL 60660




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